    Case 3:18-cv-00687-B Document 132 Filed 04/04/19                  Page 1 of 12 PageID 1610


                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

MAXUM ENTERPRISES LLC d/b/a       §
PILOT THOMAS LOGISTICS, a         §
Delaware Limited Liability Company,
                                  §
                                  §
   Plaintiff,                     §
                                  §
v.                                § CIVIL ACTION NO. 3:18-CV-0687-B
                                  §
AUTOMOTIVE FLEET ENTERPRISES, §
INC.; ASSOCIATED FLEET CORP;      §
LOUIS W. SPIRO; JOSEPH R. WIHBEY; §
and WESTERN SURETY COMPANY,       §
                                  §
   Defendants.                    §


                          MEMORANDUM OPINION AND ORDER

        Before the Court is Defendant Western Surety Company’s (Western) Rule 12(b)(6) Motion

to Dismiss. Doc. 67. For the reasons stated, the Court GRANTS Western’s Motion to Dismiss.

                                                     I.

                                            BACKGROUND1

        The dispute arises from Plaintiff Maxum Enterprises, LLC’s (doing business as Pilot Thomas

Logistics (PTL))claim that Defendants Automotive Fleet Enterprises, Inc. (AFE), Associated Fleet

Corp (AFC), Louis W. Spiro, and Joseph R. Wihbey (hereinafter the “non-surety Defendants”) took

possession of PTL’s trucks without paying for them. In 2016, PTL discovered that the non-surety

Defendants misappropriated 39 trucks valued at roughly $4.34 million. Doc. 46, Am. Compl., ¶¶


1
 The Court draws its factual history from the parties’ pleadings. Any contested fact is identified as the
contention of a particular party.

                                                  -1-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                    Page 2 of 12 PageID 1611


34–35, 128. PTL discovered the theft and subsequently entered into an agreement with Spiro’s

company, AFE, whereby AFE would pay PTL approximately $2.03 million for the trucks. Id. ¶ 107.

AFE failed to make any payments. Id. ¶¶ 115–16.

       Instead, the non-surety Defendants allegedly sold the trucks to third parties using fraudulent

“bonded titles” by virtue of surety bonds obtained from Defendants Merchants Bonding Company

and Western Surety Company through a title laundering scheme. Id. ¶¶ 36–43. In essence, according

to Plaintiffs, Wihbey and Spiro falsely claimed to the Florida Department of Motor Vehicles that the

titles had been lost. Id. ¶¶ 38, 40. They then fraudulently obtained duplicate titles claiming that the

trucks were worth only $1,000 to $2,000 each based on fraudulent bills of sale reflecting that AFE

sold each of the 39 trucks to Wihbey’s company, AFC. E.g., id. ¶¶ 37, 48; id. at 25–27 (chart

summarizing bill of sale and bond amounts for 31 of the trucks). The trucks however were generally

appraised at between $50,000 to $130,000 each. Id. at 25–27; see also, e.g., Id. ¶ 127.

       PTL alleges that Western and its agents furthered the scheme by failing to consult a current

national appraisal guide (e.g., Kelly Blue Book or National Automobile Dealers Association

(NADA)) to determine the fair market value of the vehicles and the amount of the required bond,

as required on the face of each bond and as its agents represented they had done. Id. ¶ 37, 120.

Instead, Western doubled the $1,000 to $2,000 valuation provided by the non-surety Defendants

and issued surety bonds in that amount despite the fact that Florida law required that surety bonds

be set at twice the fair market value. Id. ¶¶ 119–122.

       PTL originally brought suit on March 22, 2018, against just Spiro and his company AFE.

Doc. 1, Compl. Then, after PTL took depositions, received written discovery, and conducted its own

independent investigation, PTL uncovered the allegedly fraudulent title scheme involving Western

                                                 -2-
    Case 3:18-cv-00687-B Document 132 Filed 04/04/19                 Page 3 of 12 PageID 1612


and Merchants Bonding. See Doc. 44, Pl.’s Mot. for Leave to Am. Compl., 1. Thus, on October 12,

2018, PTL filed its First Amended Complaint adding the two surety companies and bringing claims

against them for negligence and unfair trade practices in violation of the Florida Deceptive and

Unfair Trade Practices Act (FDUTPA). Doc. 46, Am. Compl., ¶¶ 156–69.

        PTL has since settled its claims with Merchants Bonding, and thus, Merchants Bonding is

no longer a party to this case. Doc. 122, Joint Stipulation of Dismissal. However, Western remains

in this case and of the 39 trucks at issue in this case, Western issued surety bonds for 9 of them for

a penal sum of $30,000. Doc. 69, Def.’s Mot. to Dismiss, 3. In its Rule 12(b)(6) Motion to Dismiss,

Western seeks dismissal of PTL’s FDUTPA claim arguing that the FDUTPA does not apply to

sureties and dismissal of PTL’s negligence claim arguing that Western had no duty to determine the

value of the vehicles. Doc. 69, Def.’s Mot. to Dismiss, 4–5. PTL filed its Response arguing that

Western’s Motion should be denied or alternatively that PTL should be allowed to amend and seek

indemnity from Western.2 Doc. 80, Pl.’s Resp., 1. Western filed its Reply. Doc. 90, Def.’s Reply.

Western’s Motion is therefore ripe for the Court’s review.

                                                   II.

                                       LEGAL STANDARD

        Under Federal Rule of Civil Procedure Rule 8(a)(2), a complaint must contain “a short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

Rule 12(b)(6) authorizes the Court to dismiss a complaint for “failure to state a claim upon which


2
  On March 19, 2019, PTL filed a Motion for Leave to File a Second Amended Complaint. See Docs. 128,
129. Relevant to this Motion to Dismiss, PTL seeks to amend its First Amended Complaint and add a claim
for indemnification against Western to the extent that AFE fails to fully indemnify PTL. Doc. 128-4,
Proposed Second Am. Compl., ¶¶ 167–71.

                                                 -3-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                      Page 4 of 12 PageID 1613


relief can be granted.” Id. 12(b)(6). To survive a 12(b)(6) motion, “enough facts to state a claim to

relief that is plausible on its face” must be pled. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        “A claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id. At this

stage, a court “must accept all well-pleaded facts alleged in the complaint as true and must construe

the allegations in the light that is most favorable to the plaintiff.” J&J Sports Prods., Inc. v. Live Oak

Cnty. Post No. 6119 Veterans of Foreign Wars, 2009 WL 483157, at *3 (S.D. Tex. Feb. 24, 2009)

(quoting Cent. Laborers’ Pension Fund v. Integrated Elec. Servs., 497 F.3d 546, 550 (5th Cir. 2007)).

        The Fifth Circuit has held that dismissal is appropriate “if the complaint lacks an allegation

regarding a required element necessary to obtain relief.” Blackburn v. City of Marshall, 42 F.3d 925,

931 (5th Cir. 1995) (internal citation omitted). Essentially, “the complaint must contain either direct

allegations on every material point necessary to sustain a recovery . . . or contain allegations from

which an inference fairly may be drawn that evidence on these material points will be introduced at

trial.” Campbell v. City of San Antonio, 43 F.3d 973, 975 (5th Cir. 1995).

                                                   III.

                                              ANALYSIS

A.      Florida Deceptive and Unfair Trade Practices Act (FDUTPA)

        Western first seeks dismissal of PTL’s FDUTPA claim, arguing that as a matter of law sureties

are not subject to liability under the FDUTPA. Doc. 69, Def.’s Mot. to Dismiss, 4–5. Specifically,

Western argues that because § 501.212(4)(d) of the FDUTPA provides that the statute does not

                                                  -4-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                     Page 5 of 12 PageID 1614


apply to “[a]ny person or activity” regulated by the Department of Financial Services, Fla. Stat.

§ 501.212(4)(d); and because the Florida Insurance Code and Department of Financial Services

governs surety companies and surety insurance, id. §§ 624.03, 624.6011; Western is thus not subject

to any FDUTPA liability. PTL counters that the Florida Department of Financial Services does not

specifically regulate the “activity” of “surety insurance” involving bonded titles for motor vehicles;

instead these types of bonds are regulated by the Florida Department of Highway Safety and Motor

Vehicles (Florida DMV), thus the exemption cannot apply. Doc. 80, Pl.’s Resp., 13 (citing Fla. Stat.

§§ 624.606 (defining types of “surety insurance”); 319.001, 319.23(7)(a)(1) (stating that surety

bonds must be in a “form prescribed by the [Florida DMV]”)).

        Ultimately, the Court agrees with Western and finds that it is not subject to liability under

the FDUTPA. PTL has set forth no case law showing courts narrowly interpreting the exemption on

which Western relies on or imposing FDUTPA liability against a surety company offering certain

types of surety insurance. Instead, the exemption at issue in this case applies to any “persons or

activity” regulated by the Department of Financial Services. Fla. Stat. § 501.212(4)(d) (emphasis

added). Therefore, “since the introductory clause of § 501.212(4) is stated in the disjunctive rather

than the conjunctive, ordinary construction of the statute would suggest that to qualify for the

exemption a party may be either a person subject to regulation by the listed authorities contained

in the subparts or one engaged in activity subject to regulation by authorities listed in the subparts.”

Nino v. Flagstar Bank, FSB, 2017 WL 9802627, at *5 (E.D. Mich. Dec. 31, 2017) (interpreting the

same Florida statute as it applies to banks).

        Florida courts have held that “[a] surety is considered . . . to fit within the definition of

insurer and to be subject to the same regulations as insurers in the Florida Insurance Code.” Snow

                                                 -5-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                   Page 6 of 12 PageID 1615


v. Jim Rathman Chevrolet, Inc., 39 So. 3d 368, 370 (Fla. Dist. Ct. App. 2010) (citing Dadeland Depot,

Inc. v. St. Paul Fire & Marine Ins., 945 So. 2d 1216, 1224 (Fla. 2006) (quoting Fla. Stat. § 624.03,

which defines an insurer as “every person engaged as indemnitor, surety, or contractor in the business

of entering into contracts of insurance or of annuity”)). Thus, Florida courts that have considered

potential FDUTPA claims against surety companies like Western have held that whether the

FDUTPA applies does not turn on the type of surety insurance offered. See Gustafsson v. Aid Auto

Brokers, Inc., 212 So. 3d 405, 408 (Fla. Dist. Ct. App. 2017) (citing Hubbel v. Aetna Cas. & Sur. Co.,

758 So.2d 94, 94–98 (Fla. 2000)); Sanchez v. AN Luxury Imps. of Pembroke Pines, Inc., 216 So. 3d

723, 729 (Fla. Dist. Ct. App. 2017) (“section 501.212(4)(d) specifically precludes application of any

section within the FDUTPA statutes to sureties.”). Therefore, because it is clear that Western is an

“insurer” as defined by the Florida Insurance Code and subject to regulation by the Department of

Financial Services, Western is exempt from liability under the FDUTPA. Thus, the Court GRANTS

Western’s Motion to Dismiss and DISMISSES with prejudice PTL’s FDUTPA claim.

B.     Negligence

       Western next seeks dismissal of PTL’s negligence claim arguing that PTL has failed to show

that Western had a duty to PTL to ensure that the value of the vehicle was correct. Doc. 69, Def.’s

Mot. to Dismiss, 5–8. Western instead argues that Florida’s statutory scheme placed the duty on the

Florida DMV to determine the value of the vehicles and approve or not approve the bonded title

forms AFC submitted in deciding whether to issue a new title. Id.

       To establish a claim for negligence in Florida, a plaintiff must show:

       1.      A duty, or obligation, recognized by the law, requiring the [defendant] to
               conform to a certain standard of conduct, for the protection of others against
               unreasonable risks.

                                                -6-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                     Page 7 of 12 PageID 1616


        2.      A failure on the [defendant’s] part to conform to the standard required: a
                breach of the duty . . . .

        3.      A reasonably close causal connection between the conduct and the resulting
                injury. This is what is commonly known as “legal cause,” or “proximate
                cause,” and which includes the notion of cause in fact.

        4.      Actual loss or damage . . . .

U.S. v. Stevens, 994 So. 2d 1062, 1066 (Fla. 2008) (alterations in original) (quoting Clay Elec. Coop.,

Inc. v. Johnson, 873 So. 2d 1182, 1185 (Fla. 2004)). Florida has adopted the Restatement (Second)

of Torts, which, “recognizes four sources of duty: (1) legislative enactments or administration

regulations; (2) judicial interpretations of such enactments or regulations; (3) other judicial

precedent; and (4) a duty arising from the general facts of the case.” McCain v. Fla. Power Corp.,

593 So. 2d 500, 503 n.2 (Fla. 1992) (citing Restatement (Second) of Torts § 285 (1965)). Here, PTL

asserts that Western’s duty arises under the last category—i.e., that Western’s duty arises because

of the actions it failed to undertake in issuing the title bonds. Doc. 80, Pl.’s Resp., 6. “To determine

whether a duty sufficient to support a negligence claim exists, one begins by determining whether

the defendant by its conduct created a foreseeable zone of risk.” ZP No. 54 Ltd. P’ship v. Fid. &

Deposit Co. of Maryland, 917 So. 2d 368, 375 (Fla. Dist. Ct. App. 2005) (rejecting the idea that a

surety has a duty to third parties as a result of its underwriting activities). If no such duty exists,

PTL’s negligence claim fails.

        Here, PTL posits that the standard of conduct, risk of harm, and class of people within the

foreseeable zone of risk were made clear on the face of the Title Surety Bond for a Motor Vehicle

Form that Western and AFC had to complete in order for AFC to receive a certificates of title on

the allegedly stolen vehicles from the Florida DMV. Doc. 80, Pl.’s Resp, 6. More specifically, PTL


                                                 -7-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                       Page 8 of 12 PageID 1617


asserts that read together the form states that “the sureties were required to consult a ‘current

national appraisal guide (Kelly Blue Book or NADA)’ and to issue a bond that is ‘twice the value of

the vehicle’ as established in that current national appraisal guide, in order to protect ‘all prior

owners and lienholders . . . of the vehicle . . . against any expense, loss, or damage’ resulting from the

issuance of a bonded title for a vehicle for which the applicant was not the proper owner.” Id. at 6–7

(quoting Doc. 80-1, Ex. A, Fla. Title Surety Bond Form). PTL therefore concludes that by failing to

consult a current national appraisal guide in issuing a title bond of sufficient value, but instead relying

on the $1,000 to $2,000 fraudulent valuations provided by the non-surety Defendants, Western

created a foreseeable zone of risk, which PTL, as the rightful owner of the vehicles, was within.

Doc. 80, Pl.’s Resp, 7–8.

        Western argues that despite the language in the state-mandated bond form, it is not the

surety that has a duty to determine the value of the vehicle and thus the required penal sum of the

bond, but the Florida DMV that ultimately determines the value. Doc. 69, Def.’s Mot. to Dismiss,

7. Western supports this assertion by pointing to the Florida statute that governs the issuance of

these types of bonded titles. In relevant part, the statute provides that “[t]he bond must be . . . [i]n

an amount equal to two times the value of the vehicle as determined by the department [(Florida

DMV)].” Fla. Stat. § 319.23(7)(a)(4) (emphasis added). The statute places the onus on the Florida

DMV to “use reasonable diligence in ascertaining whether or not the facts in the application are true;

and, if satisfied that the applicant is the owner of the motor vehicle or mobile home and that the

application is in the proper form, it shall issue a certificate of title.” Id. § 319.23(5). And lastly, the

statute states that “[a]n interested person has a right to recover on the bond for a breach of the

bond’s condition.” Id. § 319.23(7)(b). However, “[t]he aggregate liability of the surety to all persons

                                                   -8-
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                     Page 9 of 12 PageID 1618


may not exceed the amount of the bond.” Id. Thus, reading these relevant sections together, Western

argues that the duty was on the Florida DMV, using reasonable diligence, to approve or not approve

the application for the issuance of a bonded title as well as to determine the value of the vehicle.

Doc. 69, Def.’s Mot. to Dismiss, 8. Ultimately, the Court agrees with Western and finds that Western

did not have a duty to PTL—a third party to the surety agreement between Western and AFC—to

determine the value of the vehicles sufficient to give rise to a negligence claim.

        PTL has failed to show and the Court has not found a single case in which a surety was held

to have a duty to a third party other than performance on the bond according to its terms. In fact,

case law generally states that surety companies like Western have limited duties to third parties such

as PTL. For example, PTL cites ZP No. 54 Limited Partnership v. Fidelity & Deposit Company of

Maryland, 917 So. 2d 368, 375 (Fla. Dist. Ct. App. 2005), for the proposition that a “person relying

on [a] bond has the right to expect that the bond will be honored by its issuer according to its terms.”

However, in that case the court affirmed the trial court’s finding of a lack of duty on the surety

defendant’s part and held that the only legal duty the surety had to third parties was to fulfill its

express obligations under the bond. Id. at 374. Although this case involved a different type of surety

bond, it is instructive because it also involved a plaintiff attempting to hold a surety company liable

in tort based on its allegedly negligent underwriting activities and ultimate decision to issue the bond.

See id. at 370.

        More specifically, in ZP No. 54 the plaintiff, a third-party property owner, brought suit for

gross negligence and negligent misrepresentation against a surety company that issued a performance

bond to a general contractor. Id. at 369–70. The property owner alleged that the surety company

should not have issued the bonds at issue, should have known that the contractor was a sham, and

                                                  -9-
    Case 3:18-cv-00687-B Document 132 Filed 04/04/19                    Page 10 of 12 PageID 1619


ultimately not bondable, and thus, should be liable in negligence for damages in excess of the bond

amount. Id. at 370–71. The court however refused to find that the surety had a duty to a third

party—even one that was named as obligee on the bond—growing out of the surety’s underwriting

activities because “[i]ssuing a bond based on bad underwriting does not create a foreseeable zone of

risk because a person receiving the benefit of the bond simply does not have the right to rely on the

competence of the underwriting.” Id. The Court held that the plaintiff had the right to expect that

the express obligations under the performance bond be honored, but not that the surety company

be liable for damages in excess of the amount of the bond. Id.

         Similarly here, the Court does not find that it is reasonable to place a duty on Western as to

third parties arising out of its underwriting activities that is more expansive than what was provided

for by the express terms of the bonds and that the Florida DMV ultimately approved. In interpreting

the statute governing the issuance of these bonds in conjunction with the bond form at issue, the

Court finds that the only duty Western owes is to honor the bond according to its terms—i.e., pay

the penal sum of the bond that the Florida DMV approved. The Court does not find that by issuing

the bond, Western made an affirmative guarantee that the bond was being issued for twice the fair

market value of the vehicle. The Florida DMV—as the agency tasked with issuing the certificates

of title—had the responsibility of approving or denying these forms, and ultimately approved these

forms according to their express terms.3 As was the case in ZP No. 54, the Court finds that it is not

3
 Also, the fact that the Florida DMV was the entity that issued the bonded titles and allowed PTL to suffer
damages raises an additional problem with PTL’s purported negligence action—whether Western’s failure
to properly appraise the vehicles proximately caused PTL’s losses. In Shehab v. Alkausauneh, a case involving
a similar California statute involving bonded titles, the court held that a third party could not maintain a
negligence action against a surety company based on its alleged failure to fully investigate the applicants
applying for bonds and failure to obtain readily available information on the true titled owner of certain
vehicles prior to its issuing the bonds in part because it was the California DMV that was responsible to

                                                   - 10 -
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                         Page 11 of 12 PageID 1620


reasonable for PTL to rely on the competence of Western’s underwriting activities.

        In addition to the Court finding that Western did not have a duty to a third party such as

PTL, the Court notes that “[t]he general rule recognized by the almost unanimous weight of

authority in this country is that recovery on a penal bond is limited to the amount of the penalty

named in the bond, with interest from the date of breach.” Travelers Indem. Co. v. Askew, 280 So. 2d

469, 471 (Fla. Dist. Ct. App. 1973). “The only exception to the general rule is in those instances

where the wording of the bond or the statute pursuant to which it was given indicates an intention

to extend the liability of the bond beyond the maximum sum stated therein.” Id.

        Here, the statute specifically provides that “[t]he aggregate liability of the surety to all persons

may not exceed the amount of the bond.” Fla. Stat. § 319.23(7)(b). Therefore, the statute clearly

indicates an intention that sureties are not to be held liable for more than the bond amount. As

argued by Western, if the Court were to expand their liability past the penal sum of the bonds, it

would be difficult for sureties to issue these bonds and set appropriate premium amounts. See Hubbel

v. Aetna Casualty & Surety Co., 758 So. 2d 94, 98 (Fla. 2000) (refusing to expand a surety company’s

liability beyond the sum of the bond and to include attorney’s fees in part because “[i]f the obligation

was as open-ended as asserted by the claimants, few sureties and no banks would provide the bond

or letter of credit to make this statutory scheme work”). To do so would also render the language in

the statute and on the bond form limiting the surety’s maximum liability meaningless and allow a




ensure that the proper safeguards and procedures were being followed before issuing the titles, not the surety.
2008 WL 618643, at *4–5 (S.D. Ohio Feb. 29, 2008). Here too, it was the Florida DMV that had to
ultimately approve the bonded title forms for the set amounts and determine whether to issue certificates of
titles. In the end, the Florida DMV chose to approve the forms, and thus, it was the issuance of replacement
titles, which proximately caused PTL’s damages.

                                                    - 11 -
 Case 3:18-cv-00687-B Document 132 Filed 04/04/19                   Page 12 of 12 PageID 1621


third party to contest the bond amount even after it was approved by the Florida DMV. Absent

statutory language or case law to the contrary, the Court is not willing to expand liability on Western

beyond the express terms of the bond.

       Therefore, because the Court finds that as a matter of law Western did not have a duty to

PTL with respect to its underwriting activities outside of paying the penal sum of the bond, PTL’s

negligence claim fails. Thus, the Court GRANTS Western’s Motion to Dismiss and DISMISSES

with prejudice PTL’s negligence claim.

                                                 IV.

                                          CONCLUSION

       For the above-stated reasons, the Court GRANTS Western’s Motion to Dismiss (Doc. 67)

under Federal Rule of Civil Procedure 12(b)(6). Specifically, Plaintiff’s FDUTPA and negligence

claims are DISMISSED with prejudice because surety companies such as Western are exempt from

FDUTPA liability and the Court does not find that Western owed PTL any duty besides performance

of the bond according to its terms. However, the Court will allow PTL to amend its complaint, as

proposed, see generally Doc. 128, Mot. for Leave to File Am. Compl., and bring a claim for indemnity

against Western and AFC under the express terms of the bond form.



       SO ORDERED.

       DATED: April 4, 2019.



                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE



                                                - 12 -
